Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 1 of 55 Page ID #:659




                     EXHIBIT 1
      Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 2 of 55 Page ID #:660



          1 BOIES SCHILLER FLEXNER LLP
            Travis LeB lanc, SBN 251097
          2    tleblanc~bsfllp.com
            435 Tasso treet, Suite 205
          3 Palo Alto, California 94301
            Phone: (650) 445-6400 /Fax : (650) 329-8507
          4
            David K. Willintam, SBN 198874
          5    dwillingham@ sfllp.com
            725 S. Fi~ueroa Street2 31st Floor
          6 Los Anf:e es, California 90017
            Phone: 2 13) 629-9040 /Fax: (2 13) 629-9022
          7
a..
..J
            Lee S. Wolosky f{rro hac vice)
..J       8    lwoloskD@bsfl&.com
            Robert J. ~er ro hac vice)
Q'.

w
          9    rd~er@bsflx.com
z           575 Lexington ve., 7th Floor
)(       10 New York, NY 10022
w           Phone: (212) 446-2300 /Fax: (212) 446-2350
..J

u.
         11
            Amy L. Neuhardt (pro hac vice)
Q'.

w
         12    aneuhard\:®absfllp. com
..J
            1401 New ork Avenue, NW
..J      13 Washington, DC 20005
:r
            Phone: {202) 237-2727 /Fax: (202) 237-6 13 1
{.)      14
(/)         Counsel f or Plaintiffs
(/)
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         16                         UNITED STATES DISTRICT COURT
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ro
                    CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
         17
            BROIDY CAPITAL MANAGEMENT                 Case No. 2: 18-CV-02421-JFW-E
         18 LLC, ELLIOTT BROIDY, and ROBIN
            ROSENZWEIG,                               The Honorable John F. Walter
         19
            Plaintiffs,                               The Honorable Charles F. Eick
         20
            V.                                        PLAINTIFFS' FIRST SET OF
         21                                           RRiUESTS FOR PRODUCTION
            STATE OF QATAR, STONINGTON                OF OCUMENTS TO
         22 STRATEGIES LLC, NICOLAS D.                DEFENDANTS NICOLAS D.
            MUZIN, and DOES 1- 10,                    MUZIN STONINGTON
         23                                           STRATEGIES LLC
            Defendants.
         24
         25
         26         Pursuant to Federal Rules of Civil Procedure 26 and 34 and Paragraph 4(b) of
         27 the Court's Standing Order dated March 27, 2018, directing that the parties engage
         28 in discovery prior to the Rule 26(f) conference, Plaintiffs hereby request that

                                    PLAINTIFFS' FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                           TO DEFENDANT STONINGTON STRATEGIES LLC
       Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 3 of 55 Page ID #:661




          1 Defendants Nicolas D. Muzin ("Muzin") and Stonington Strategies LLC
          2 ("Stonington" and together with Muzin, "You") produce for inspection and copying
          3 all documents responsive to the following individual requests (collectively, "the
          4 Requests"). All documents responsive to the Requests shall be produced at the
          5 offices of Boies Schiller Flexner LLP, 1401 New York Ave., NW, Washington, DC
          6 20005 within thirty (30) days of service of the Requests.
a.        7                                      DEFINITIONS
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          8        In addition to the definitions set forth in the Federal Rules of Civil Procedure,
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          9 the following definitions apply to each of the Requests, and are deemed to be
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w        10 incorporated in each of said Requests:
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         11        1.       The terms "Communication" and "Communications" are defined to
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w        12 include any document, written communication delivered by the United States Postal
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         13 Service, Federal Express, United Parcel Service, or any other delivery or courier,
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         14 email, phone call, SMS or text message (including WhatsApp, Signal, or similar
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         15 encrypted message service), Facebook message, Face book post, tweet on Twitter,
0        16 direct message on Twitter, chat or message on any social media platform, and any
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         17 other means used to convey information from one person to any other person or
         18 persons in any form .
         19        2.       "Complaint" means the Complaint filed on March 26, 2018, in this
         20 action.
         21        3.       "Concerning" means rdaling Lo, referring to, describing, evidencing or
         22 constituting.
         23        4.       "Document" is defined to be synonymous in meaning and equal in
         24 scope to the usage of this term in Federal Rule of Civil Procedure 34(a)(l)(A). A
         25 draft or non-identical copy is a separate Document within the meaning of this term.
         26        5.       "Stonington Strategies LLC" or "Stonington" means the Defendant
         27 Stonington Strategies LLC, any of its predecessors or successors in interest, and any
         28
                                                        -2-
                                      PLAINTIFFS' FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                             TO DEFENDANT STONINGTON STRATEGIES LLC
       Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 4 of 55 Page ID #:662




          1 persons, entities, directors, officers, employees, agents, or subcontractors (including
          2 but not limited to Vitello Consulting, Aryeh Shudofsky, Alexander Shively, and
          3 Karl Nottumo ).
          4         6.    The "State of Qatar" means the sovereign country so titled and all
          5 political, administrative, or legal subdivisions thereof, including but not limited to
          6 all agencies or instrumentalities thereof, the Embassy of the State of Qatar in the
Cl.       7 United States; all elected and appointed officials, employees, agents, consultants,
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          8 and attorneys thereof; and any other person acting for or on behalf of any of them .
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          9         7.    "Person" is defined as any natural person or any business, legal, or
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w        10 governmental entity or association.
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         11         8.     "Published Articles" shall mean any and all articles or stories in the
w        12 media discussing or referencing any one or more of Plaintiffs Elliott Broidy, Robin
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         13 Rosenzweig, and Broidy Capital Management LLC that purport to be based on
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         14 materials obtained from Plaintiffs' electronic files or documents, including but not
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         15 limited to any such articles or stories that appeared in the Wall Street Journal,
0        16 Huffington Post, Washington Post, New York Times, McClatchy D.C., Al Jazeera,
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         17 Bloomberg, The Associated Press, CNN, and Newsweek.
         18                                    INSTRUCTIONS
         19        The following instructions apply to each of the Requests and are deemed to be
         20 incorporated in each of them:
         21         1.    In producing documents, You are requested to produce the original of
         22 each document requested together with all non-identical copies and drafts of that
         23 document. If the original of any document cannot be located, a copy shall be
         24 provided in lieu thereof, and shall be legible and bound or stapled in the same
         25 manner as the original. In any circumstance in which an agreement is reached to
         26 allow the production of copies of documents rather than originals, You shall retain
         27
         28
                                                       -3-
                                     PLAINTIFFS' FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                            TO DEFENDANT STONINGTON STRATEGIES LLC
      Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 5 of 55 Page ID #:663




         1 all of the original documents for inspection or copying throughout the pendency of
         2 this case, any appeal(s), and any related proceedings.
         3          2.   Any alteration of a responsive document, including any marginal notes,
         4 handwritten notes, underlining, date stamps, received stamps, endorsed or filed
         5 stamps, drafts, revisions, modifications and other versions of a document is a
         6 responsive document in its own right and must be produced.
a.       7          3.   The terms defined above and used in each of the Requests should be
         8 construed broadly to the fullest extent of their meaning in a good-faith effort to
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         9 comply with the Federal Rules of Civil Procedure.
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w       10          4.   The term "including" shall be construed as "including, but not limited
""      11 to ."
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w       12          5.   The use of the singular form of any word includes the plural, and vice-
        13 versa.
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        14          6.   Where it is necessary to bring within the scope of these Requests
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        15 information that might otherwise be construed to be outside their scope, the use of a
o       16 verb in any tense shall be recognized as the use of that verb in all other tenses.
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        17          7.   Unless words or terms have been given a specific definition herein,
        18 each word or term used herein shall be given its usual and customary dictionary
        19 definition.
        20          8.   Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, each
        2 1 document shall be produced either (a) as i l was kept in the usual course of business;
        22 or (b) segregated as responsive to a specific request enumerated in these Requests,
        23 with such specific request identified.
        24          9.   All hard copy documents shall be produced in a manner that reflects the
        25 file folder, envelope, or other container in which the documents are kept or
        26 maintained and electronically associates those documents together as a document
        27 family .
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                                                      -4-
                                    PLAINTIFFS' FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                           TO DEFENDANT STONINGTON STRATEGIES LLC
       Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 6 of 55 Page ID #:664




          1         10.    Documents attached to each other should not be separated.
          2         11 .   If identical copies of a document are in the possession, custody or
          3 control of more than one natural person or other document custodian, a copy of that
          4 document shall be produced from each such natural person or other document
          5 custodian.
          6         12.    In instances where two or more exact duplicates of any document exist,
a.        7 the most legible copy shall be produced.
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          8         13 .   The fact that a document is in the possession of Plaintiffs, or can be
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          9 produced by another Person, does not relieve You of the obligation to produce all of
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w        10 Your copies of the same document, even if Your copies are identical in all respects
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         11 to a document held by another Person.
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w        12         14.    If You make a timely objection to any portion of a Request, definition,
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         13 or instruction, provide a response to the remaining portion.
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         14         15.    Other than redactions of privileged information, documents are to be
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         15 produced in full and may not be redacted in any manner. If any requested document
0        16 cannot be produced in full, produce it to the extent possible, and provide the
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         17 following information with regard to each such document and each portion of such
         18 document withheld:
         19                (a)    the type of document;
         20                (b)    the general subject matter of the document and each portion
         21                       withheld;
         22                ( c)   the date of the document;
         23                (d)    the author(s) of the document and their title(s);
         24                (e)    the recipient(s) of the document and their title(s); and
         25                (f)    the basis for withholding each portion of the document that is
         26                       withheld from production.
         27
         28
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                                      PLAINTIFFS' FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                             TO DEFENDANT STONINGTON STRATEGIES LLC
       Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 7 of 55 Page ID #:665




          1         16.   If You withhold production of any document or portion of any
          2 document responsive to the Requests based upon any privilege, such documents
          3 should be included on a privilege log in a form to be agreed upon by the parties that
          4 includes the following information:
          5               (a)    the type of document;
          6               (b)    the general subject matter of the document and each portion
a.        7                      withheld;
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          8               ( c)   the date of the document;
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          9               (d)    the author(s) of the document and their title(s);
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w        10               (e)    the recipient(s) of the document and their title(s); and
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         11               ( f)   the basis for withholding each portion of the document that is
w        12                      withheld from production.
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         13         17.   The relevant time period for these Requests refer is from May 1, 2017
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         14 to the present. If any document is undated and the date of its preparation cannot be
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         15 determined, the document shall be produced if otherwise responsive to any of the
0        16 Requests .
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         17         18.   Production will be conducted pursuant to an agreement of the parties or
         18 order of the Court governing the format of the production and the media on which
         19 production will be made, or in the absence of such agreement or order will be
         20 provided in a form to he specified by Plaintiffs.
         21         19.   These Requests an~ continuing and require supplemental responses in
         22 accordance with the requirements of Federal Rule of Civil Procedure 26(e).
         23                               DOCUMENT REQUESTS
         24 REQUEST FOR PRODUCTION NO. 1
         25         Any and all documents concerning or constituting Communications relating
         26 to the bill introduced in the United States Congress known as H.R. 2712 introduced
         27 May 25, 20 17.
         28
                                                         -6-
                                     PLAINTIFFS' FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                            TO DEFENDANT STONINGTON STRATEGIES LLC
       Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 8 of 55 Page ID #:666




          1 REQUEST FOR PRODUCTION NO. 2
          2         Any and all documents concerning or constituting Communications with any
          3 person regarding Your retention by Defendant the State of Qatar.
          4 REQUEST FOR PRODUCTION NO. 3
          5         Any and all documents concerning or constituting Communications regarding
          6 Plaintiffs with Defendant the State of Qatar or with its officials, agents, or any
0..       7 persons acting on its behalf.
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          8 REQUEST FOR PRODUCTION NO. 4
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          9         Any and all documents concerning or constituting Communications with
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w        10 Defendant the State of Qatar or with its officials, agents, or any persons acting on its
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         11 behalf related to efforts made by You or anyone else on behalf of the State of Qatar
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w        12 with respect to any of the subjects discussed in the Complaint.
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         13 REQUEST FOR PRODUCTION NO. 5
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(/)
         14         Any and all documents concerning or constituting Communications relating
(/)w     15 to Plaintiffs or Defendant the State of Qatar with :
0        16         (a) Current or former federal or state governmental officials of the United
ro

         17            States, including but not limited to Special Assistant to the President
         18            Victoria Coates and former Arkansas Governor Mike Huckabee;
         19         (b) Media or press representatives;
         20         (c) Morton A. Klein , Rabbi Shmully Hecht, A lan Dershowitz, Malcolm
         2 1 Hoenlein, and Rabbi Shmuley Buteach.
         22 REQUEST FOR PRODUCTION NO. 6
         23         Any and all documents concerning, or constituting Communications with,
         24 Ooredoo Q .S.C.
         25
         26
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                                     PLAINTIFFS' FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                            TO DEFENDANT STONINGTON STRATEGIES LLC
       Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 9 of 55 Page ID #:667




          1 REQUEST FOR PRODUCTION NO. 7
          2         Any and all documents concerning or constituting Communications related to
          3 payments to You relating to Your representation of Defendant the State of Qatar,
          4 including the increase in late 2017 of Your monthly fees from $50,000 to $300,000.
          5 REQUEST FOR PRODUCTION NO. 8
          6         Any and all documents concerning or constituting efforts to hack or otherwise
0..       7 access without authorization the electronic computers, facilities, accounts, or other
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          8 electronic information or Communications of Plaintiffs .
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          9 REQUEST FOR PRODUCTION NO. 9
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w        10         Any and all documents concerning or constituting Published Articles, whether
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         11 dated before or after publication.
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w        12 REQUEST FOR PRODUCTION NO. 10
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         13         Any and all documents concerning or constituting Communications relating
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         14 to one or more of Plaintiffs with agents of Defendant the State of Qatar (whether
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         15 registered or unregistered), including but not limited to individuals or entities
()       16 associated with, or employed by, Avenue Strategies Global LLC, Ashcroft Law
ID


         17 Group, Levick Strategic Communications, Information Management Services Inc.,
         18 Conover & Gould Strategic Communications, Gallagher Group, McDermott, Will &
         19 Emery, Nelson Mullins Riley & Scarborough LLP, Portland PR, Mercury Public
         20 Affairs, B]uefront Strategies, Hawksbill Group, Vitello Consulting, Iron Bridge
         21 Strategies, Tigercomm LLC, Husch Blackwell Strategies, SGR Government
         22 Relations & Lobbying, and Venable LLP.
         23 REQUEST FOR PRODUCTION NO. 11
         24         Any and all documents concerning or constituting Communications relating
         25 to one or more of Plaintiffs with Corey Lewandowski.
         26
         27
         28
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                                     PLAINTIFFS' FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                            TO DEFENDANT STONINGTON STRATEGIES LLC
      Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 10 of 55 Page ID #:668




          1 REQUEST FOR PRODUCTION NO. 12
          2        Any and all documents concerning or constituting Communications with
          3 reporters or media organizations concerning Plaintiffs.
          4 REQUEST FOR PRODUCTION NO. 13

          5        Any and all bank or other financial records reflecting payments to You with
          6 respect to Your work or the work of others on behalf of Defendant the State of
a.        7 Qatar, or reflecting payments to others relating to their work on behalf of Defendant
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          8 the State of Qatar.
w         9 REQUEST FOR PRODUCTION NO. 14
z
X
w        10        Any and all documents concerning or constituting Communications between
u..
         11 You and M. Joseph Allaham.
w        12 REQUEST FOR PRODUCTION N0. 15
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         13        Any and all documents concerning or constituting non-privileged
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         14 Communications between You and any other person regarding the facts underlying
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         15 the Complaint.
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              DATED : April 20, 2018             BOIES SCHILLER FLEXNER LLP
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                                                 AMY NEUHARDT
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                                                       AMY            RD
                                                                         vha,tCtf:'
                                                       Attorneys for Plaintiffs
         22
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                                    PLAINTIFFS' FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                                                           TO DEFENDANT STONINGTON STRATEGIES LLC
Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 11 of 55 Page ID #:669




                     EXHIBIT 2
Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 12 of 55 Page ID #:670




                                                          AMY NEUHARDT
                                                          Tel.: (202) 274-1137
                                                          E-mail: aneuhardt@bsfllp.com

                                                          April 24, 2018

     BY HAND & FEDEX

     Corporation Service Company
     2710 Gateway Oaks Drive, Suite 150N
     Sacramento, CA 95833

            Re:      Document Subpoena to Google in the Matter
                     Broidy Capital Management et al. v. State of Qatar et al.,
                     Case No. 18-cv-02421-JFW (C.D. Cal.)

     Sir or Madam:

             Enclosed on behalf of plaintiffs Broidy Capital Management LLC, Elliott Broidy,
     and Robin Rosenzweig (“Plaintiffs”) is a subpoena pursuant to Rule 45 of the Federal
     Rules of Civil Procedure for the production of documents in the above-referenced action.
     Google is required to respond to the subpoena no later than fourteen (14) days from the
     service of this subpoena.

            This subpoena seeks metadata and identifying information associated with the
     following email addresses: “noreply.secureservicealerts@gmail.com”;
     “donotreply.bbcnews@gmail.com”; “noreply.servicealerts@gmail.com”;
     “mymail.securealerts@gmail.com”; “noreply.user.secure.services@gmail.com”;
     “nickmuzin@gmail.com”; “joeyallaham1@gmail.com”; “jdmowbra@gmail.com”;
     “ericanicolehilliard@gmail.com”; “ebbroidy@gmail.com”; “ebbtide52@gmail.com”;
     “rbroidy5@gmail.com”.

             This subpoena also seeks metadata and identifying information associated with
     the following Google Voice phone number at the designated date and times: (202) 455-
     8888 on December 27, 2017 at 19:43 to 20:31 UTC.

             Most of the email addresses were referenced in our April 19, 2018 letter
     informing you of the need to preserve documents related to the email addresses. These
     addresses and the phone number have been associated with wrongful conduct alleged in
     the referenced litigation or have been targeted by that wrongful conduct.
Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 13 of 55 Page ID #:671




             This subpoena does not seek communications protected by the Stored
     Communications Act, 18 U.S. Code § 2701, et seq. (the “SCA”), but unprotected
     metadata and identifying information. See In re Zynga Privacy Litigation, 750 F.3d
     1098, 1104 (9th Cir. 2014) (noting that the “name,” “address,” and “subscriber number or
     identity” of a customer are not “contents of communications” protected by the SCA).
     Plaintiffs do not seek the “contents” of any communication, or “any information
     concerning the substance, purport, or meaning of that communication.” Id.

             The requests in the subpoena are tailored to categories of documents and
     information recognized by courts to be discoverable and not protected by the SCA. For
     example, the subpoena requests: (1) names and aliases associated with the email account,
     see Chevron Corp. v. Donziger, No. 12-mc-80237 CRB (NC), 2013 WL 4536808, at *10
     (N.D. Cal. Aug. 22, 2013); (2) addresses and telephone numbers, see Obodai v. Indeed,
     Inc., No. 13-80027-MISC EMC (KAW), 2013 WL 1191267, at *4 (N.D. Cal. Mar. 21,
     2013); and (3) IP addresses, IP logs, and other usage information, see Donziger, 2013
     WL 4536808, at *10; Optiver Australia Pty. Ltd. & Anor. v. Tibra Trading Pty. Ltd. &
     Ors., No. C 12-80242 EJD (PSG), 2013 WL 256771, at *3 (N.D. Cal. Jan. 23, 2013).
     The subpoena does not seek potentially sensitive information, such as user biographical
     or medical information. See Svenson v. Google Inc., 65 F. Supp. 3d 717, 729 (N.D. Cal.
     2014).

             If you have any questions regarding this subpoena, or to obtain instructions on
     delivering your response electronically, please contact my colleague Josh Friedman at
     (202) 274-1167 or jfriedman@bsfllp.com.

                                                  Sincerely,

                                                   /s/ Amy Neuhardt
                                                  Amy Neuhardt
                                                  BOIES SCHILLER FLEXNER LLP
                                                  1401 New York Avenue, NW
                                                  Washington, D.C. 20005

     cc:    VIA FEDEX
            Google Inc.
            C/O Custodian of Records
            1600 Amphitheatre Parkway
            Mountain View, CA 94043
      Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 14 of 55 Page ID #:672
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________ District
                                                         Central District ofof __________
                                                                            California

                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No.
                                                                               )
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place:                                                                                 Date and Time:



        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
     Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 15 of 55 Page ID #:673
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                             for services, for a total of $                .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
     Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 16 of 55 Page ID #:674
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                  UNITED STATES DISTRICT COURT
         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

  BROIDY CAPITAL MANAGEMENT                            Case No. 2:18-CV-02421-JFW-E
  LLC, ELLIOTT BROIDY, and ROBIN
  ROSENZWEIG,                                          The Honorable John F. Walter
  Plaintiffs,                                          The Honorable Charles F. Eick
  v.                                                   PLAINTIFFS’ SUBPOENA FOR
                                                       DOCUMENTS TO GOOGLE
  STATE OF QATAR, STONINGTON                           ________
  STRATEGIES LLC, NICOLAS D.
  MUZIN, and DOES 1-10,
  Defendants.



         YOU ARE HEREBY COMMANDED, pursuant to Fed. R. Civ. P. 45, to produce the

  documents and things designated herein for inspection at the offices of Boies Schiller Flexner

  LLP, 435 Tasso Street, Suite 205, Palo Alto, California 94301, within 14 days of service, as

  provided under the Federal Rules of Civil Procedure. This subpoena for documents, including

  each individual Request for Documents (collectively, the “Requests”), shall be read and

  interpreted in accordance with the definitions and instructions identified below.

                              DEFINITIONS AND INSTRUCTIONS

         Plaintiffs incorporate by reference all the instructions, definitions, and rules contained in

  the Federal Rules of Civil Procedure, and for purposes of this Subpoena, the following

  instructions and definitions shall apply:

         1.      The singular of each word shall be construed to include its plural and vice-versa,

  and the root word and all derivations (e.g., “ing,” “ed”) shall be construed to include each other.

  The words “and” as well as “or” shall be construed both conjunctively and disjunctively.




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           2.     If the requested documents are maintained in a file, the file folder is included in

  the request for production of those documents.

           3.    The term “concerning” means “relating to,” “referring to,” “describing,”

  “evidencing” or “constituting.”

           4.    The terms “document” and “documents” are defined to be synonymous in

  meaning and equal in scope to the usage of the term “documents” in Fed. R. Civ. P. 34(a)(1)(A).

  The terms “document” and “documents” are defined to include all writings of every kind and all

  electronically stored information (“ESI”), including but not limited to videos, photographs,

  sound recordings, images, charts, maps, records, memoranda, correspondence, handwritten or

  typewritten notes, calendars, diaries, telephone messages, data or data compilations, emails,

  attachments to emails, instant messages, PowerPoint presentations, spreadsheets, all other

  writings in hard copy or in electronic form, and all other material stored on computers, computer

  discs, CDs, DVDs, Blackberry or smartphone devices, tablets, personal digital assistants, USB

  “thumb” drives, electronic calendars, and telephone systems.

           5.    A draft of a non-identical copy is considered a separate document.

           6.    The terms “electronically stored information” and “ESI” are defined to be

  synonymous in meaning and equal in scope to the usage of “electronically stored information” in

  Fed. R. Civ. P. 34(a)(1)(A).   “ESI” includes data on all servers, including IP addresses, MAC

  addresses, active data, archived data, deleted data, and legacy data, as well as data on removable

  electronic media and in any other location where documents relevant to the Requests may be

  found.

           7.    The terms “you” and “your” shall mean and refer to Google, any parent,

  predecessor, subsidiary, affiliate, successor, member and/or affiliated entities, past or present, of




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  Google and any person or entity, past or present, acting on behalf of Google, including but not

  limited to, each of its respective present and former officers, executives, partners, directors,

  employees, attorneys, agents, and/or representatives.

           8.    The term “including” shall be construed as “including, but not limited to.”

           9.    When referring to a person, “to identify” means to give, to the extent known, the

  person’s full name and present or last known address.

           10.   Any reference to a person that is a business entity and is not otherwise defined

  includes that person’s predecessors (including any pre-existing person that at any time became

  part of that entity after merger or acquisition), successors, parents, divisions, subsidiaries,

  affiliates, franchisors and franchisees; each other person, directly or indirectly owned or

  controlled by any of them; each partnership or joint venture to which any of them is a party; all

  present and former directors, officers, employees, agents, consultants, controlling shareholders

  (and any entity owned by any such controlling shareholder), and attorneys of any of them; and

  any other person acting for or on behalf of any of them.

           11.   Unless words or terms have been given a specific definition herein, each word or

  term used herein shall be given its usual and customary dictionary definition, except where such

  words have a usual custom and usage definition in your trade or industry, in which case they

  shall be interpreted in accordance with such usual custom and usage definition of which you are

  aware.

           12.   Pursuant to Rule 45(e)(1)(a) of the Federal Rules of Civil Procedure, documents

  shall be produced either (a) as they are kept in the usual course of business (in which case they

  shall be produced in such fashion as to identify the department, branch or office in whose

  possession it was located and, where applicable, the natural person in whose possession it was




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  found or the server or central file in which it was found, and the address of each document’s

  custodian(s)), or (b) segregated as responsive to a specific Request enumerated in these

  Requests, with such specific Request identified.

         13.     If you file a timely objection to any portion of a Request, definition, or

  instruction, provide a response to the remaining portion.

         14.     The time period to which these Requests refer is from May 1, 2017 to the present.

  If any document is undated and the date of its preparation cannot be determined, the document

  shall be produced if otherwise responsive to any of the Requests.

         15.     The term “Email Addresses” means: “noreply.secureservicealerts@gmail.com”;

  “donotreply.bbcnews@gmail.com”; “noreply.servicealerts@gmail.com”;

  “mymail.securealerts@gmail.com”; “noreply.user.secure.services@gmail.com”;

  “nickmuzin@gmail.com”; “joeyallaham1@gmail.com”; “jdmowbra@gmail.com”;

  “ericanicolehilliard@gmail.com”; “ebbroidy@gmail.com”; “ebbtide52@gmail.com”;

  “rbroidy5@gmail.com”.

         16.     The term “Phone Number” means the following at the indicated date and times:

  (202) 455-8888 on December 27, 2017 at 19:43 to 20:31 UTC.

         17.     The terms defined above and used in each of the Requests should be construed

  broadly to the fullest extent of their meaning in a good-faith effort to comply with the Federal

  Rules of Civil Procedure.




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                              DOCUMENTS TO BE PRODUCED

  Document Request No. 1

         Documents sufficient to identify the person or persons who registered the Email Address

  or Phone Number, including pseudonyms, aliases, subscriber numbers or any other identifying

  designations of the same person or persons.

  Document Request No. 2

         Documents sufficient to identify the user or users of the Email Address or Phone

  Number, including pseudonyms, aliases, subscriber numbers or any other identifying

  designations of the same person or persons, if different from Document Request No. 1.

  Document Request No. 3

         Documents sufficient to identify the physical address, mailing address, associated

  telephone numbers, or associated email addresses of person or persons identified in Document

  Requests No.1 and No. 2.

  Document Request No. 4

         Documents sufficient to identify the Internet Protocol addresses used to access the Email

  Addresses or Phone Number on the date and time of registration and during subsequent usage

  dates and times.

  Document Request No. 5

         Telephone connection records, forwarding numbers, and billing information for the

  Phone Number.

  Document Request No. 6

         Computer usage logs, Internet Protocol logs, web server logs, or Documents reflecting

  other means of recording information concerning the use of or access to the Email Addresses or




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  Phone Number, including records of session times and durations; length of service and types of

  services utilized; and device identifiers, including serial numbers, user-agent strings, browser

  versions, and system versions.

         Dated: April 24, 2018
         New York, New York
                                                        /s/ Amy Neuhardt
                                                        Amy Neuhardt
                                                        BOIES SCHILLER FLEXNER LLP
                                                        1401 New York Avenue, NW
                                                        Washington, D.C. 20005
                                                        Telephone: (202) 237-2727
                                                        Fax: (202) 237-6131
                                                        Email: aneuhardt@bsfllp.com

                                                        Counsel for Plaintiffs




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                      Text of Federal Rule of Civil Procedure 45(d) and (e)

  (d) PROTECTING A PERSON SUBJECT TO A SUBPOENA; ENFORCEMENT.

          (1)    Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible
  for issuing and serving a subpoena must take reasonable steps to avoid imposing undue burden
  or expense on a person subject to the subpoena. The court for the district where compliance is
  required must enforce this duty and impose an appropriate sanction—which may include lost
  earnings and reasonable attorney’s fees—on a party or attorney who fails to comply.

         (2)    Command to Produce Materials or Permit Inspection.

                 (A)     Appearance Not Required. A person commanded to produce documents,
         electronically stored information, or tangible things, or to permit the inspection of
         premises, need not appear in person at the place of production or inspection unless also
         commanded to appear for a deposition, hearing, or trial.

                 (B)     Objections. A person commanded to produce documents or tangible things
         or to permit inspection may serve on the party or attorney designated in the subpoena a
         written objection to inspecting, copying, testing, or sampling any or all of the materials or
         to inspecting the premises—or to producing electronically stored information in the form
         or forms requested. The objection must be served before the earlier of the time specified
         for compliance or 14 days after the subpoena is served. If an objection is made, the
         following rules apply:

                      (i)     At any time, on notice to the commanded person, the serving party
                may move the court for the district where compliance is required for an order
                compelling production or inspection.

                        (ii)    These acts may be required only as directed in the order, and the
                order must protect a person who is neither a party nor a party’s officer from
                significant expense resulting from compliance.

         (3)    Quashing or Modifying a Subpoena.

                (A)     When Required. On timely motion, the court for the district where
         compliance is required must quash or modify a subpoena that:

                        (i)     fails to allow a reasonable time to comply;

                        (ii)   requires a person to comply beyond the geographical limits
                specified in Rule 45(c);

                       (iii)  requires disclosure of privileged or other protected matter, if no
                exception or waiver applies; or
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                        (iv)   subjects a person to undue burden.

                (B)      When Permitted. To protect a person subject to or affected by a subpoena,
         the court for the district where compliance is required may, on motion, quash or modify
         the subpoena if it requires:

                       (i)    disclosing a trade secret or other confidential research,
                development, or commercial information; or

                       (ii)    disclosing an unretained expert’s opinion or information that does
                not describe specific occurrences in dispute and results from the expert’s study
                that was not requested by a party.

                (C)    Specifying Conditions as an Alternative. In the circumstances described in
         Rule 45(d)(3)(B), the court may, instead of quashing or modifying a subpoena, order
         appearance or production under specified conditions if the serving party:

                       (i)    shows a substantial need for the testimony or material that cannot
                be otherwise met without undue hardship; and

                      (ii)   ensures that the subpoenaed person will be reasonably
                compensated.

  (e) DUTIES IN RESPONDING TO A SUBPOENA.

          (1)   Producing Documents or Electronically Stored Information. These procedures
  apply to producing documents or electronically stored information:

                (A)     Documents. A person responding to a subpoena to produce documents
         must produce them as they are kept in the ordinary course of business or must organize
         and label them to correspond to the categories in the demand.

                  (B)   Form for Producing Electronically Stored Information Not Specified. If a
         subpoena does not specify a form for producing electronically stored information, the
         person responding must produce it in a form or forms in which it is ordinarily maintained
         or in a reasonably usable form or forms.

                (C)     Electronically Stored Information Produced in Only One Form. The
         person responding need not produce the same electronically stored information in more
         than one form.

                 (D)    Inaccessible Electronically Stored Information. The person responding
         need not provide discovery of electronically stored information from sources that the
         person identifies as not reasonably accessible because of undue burden or cost. On
         motion to compel discovery or for a protective order, the person responding must show
         that the information is not reasonably accessible because of undue burden or cost. If that
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        showing is made, the court may nonetheless order discovery from such sources if the
        requesting party shows good cause, considering the limitations of Rule 26(b)(2)(C). The
        court may specify conditions for the discovery.

        (2)    Claiming Privilege or Protection.

               (A)     Information Withheld. A person withholding subpoenaed information
        under a claim that it is privileged or subject to protection as trial-preparation material
        must:

                       (i)     expressly make the claim; and

                       (ii)    describe the nature of the withheld documents, communications,
               or tangible things in a manner that, without revealing information itself privileged
               or protected, will enable the parties to assess the claim.

                (B)      Information Produced. If information produced in response to a subpoena
        is subject to a claim of privilege or of protection as trial-preparation material, the person
        making the claim may notify any party that received the information of the claim and the
        basis for it. After being notified, a party must promptly return, sequester, or destroy the
        specified information and any copies it has; must not use or disclose the information until
        the claim is resolved; must take reasonable steps to retrieve the information if the party
        disclosed it before being notified; and may promptly present the information under seal to
        the court for the district where compliance is required for a determination of the claim.
        The person who produced the information must preserve the information until the claim
        is resolved.
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                     EXHIBIT 3
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                  UNITED STATES DISTRICT COURT
         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

  BROIDY CAPITAL MANAGEMENT                            Case No. 2:18-CV-02421-JFW-E
  LLC, ELLIOTT BROIDY, and ROBIN
  ROSENZWEIG,                                          The Honorable John F. Walter
  Plaintiffs,                                          The Honorable Charles F. Eick
  v.                                                   PLAINTIFFS’ SUBPOENA FOR
                                                       DOCUMENTS TO JOSEPH
  STATE OF QATAR, STONINGTON                           ALLAHAM
  STRATEGIES LLC, NICOLAS D.                           ________
  MUZIN, and DOES 1-10,
  Defendants.



         YOU ARE HEREBY COMMANDED, pursuant to Fed. R. Civ. P. 45, to produce the

  documents and things designated herein for inspection at the offices of Boies Schiller Flexner

  LLP, 575 Lexington Ave, 7th Floor, New York, NY 10022, within thirty (30) days of service, as

  provided under the Federal Rules of Civil Procedure. This subpoena for documents, including

  each individual Request for Documents (collectively, the “Requests”), shall be read and

  interpreted in accordance with the definitions and instructions identified below.

                              DEFINITIONS AND INSTRUCTIONS

         Plaintiffs incorporate by reference all the instructions, definitions, and rules contained in

  the Federal Rules of Civil Procedure, and for purposes of this Subpoena, the following

  instructions and definitions shall apply:

         1.      The singular of each word shall be construed to include its plural and vice-versa,

  and the root word and all derivations (e.g., “ing,” “ed”) shall be construed to include each other.

  The words “and” as well as “or” shall be construed both conjunctively and disjunctively.




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         2.      The present tense shall be construed to include the past tense and vice-versa.

  Where it is necessary to bring within the scope of these Requests information that might

  otherwise be construed to be outside their scope, the use of a verb in any tense shall be

  recognized as the use of that verb in all other tenses.

         3.      The terms “communication” and “communications” are defined to include any

  document, snail mail, email, phone call, SMS or text message (including WhatsApp, Signal, or

  similar encrypted messaging service), Facebook message, Facebook post, tweet on Twitter,

  direct message on Twitter, chat or message on any social media platform, and any other means

  used to convey information from one person to any other person or persons in any form. The

  term “snail mail” is defined as written communication delivered by the United States Postal

  Service, Federal Express, United Parcel Service, or any other delivery or courier.

         4.      The terms “document” and “documents” are defined to be synonymous in

  meaning and equal in scope to the usage of the term “documents” in Fed. R. Civ. P. 34(a)(1)(A).

  The terms “document” and “documents” are defined to include all writings of every kind and all

  electronically stored information (“ESI”), including but not limited to videos, photographs,

  sound recordings, images, charts, maps, records, memoranda, correspondence, handwritten or

  typewritten notes, calendars, diaries, telephone messages, data or data compilations, emails,

  attachments to emails, instant messages, PowerPoint presentations, spreadsheets, all other

  writings in hard copy or in electronic form, and all other material stored on computers, computer

  discs, CDs, DVDs, Blackberry or smartphone devices, tablets, personal digital assistants, USB

  “thumb” drives, electronic calendars, and telephone systems.

         5.      A draft of a non-identical copy is considered a separate document.




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         6.      The terms “you” and “your” include the person(s) to whom these Requests are

  addressed, and all of that person’s agents, representatives, and attorneys.

         7.      The “State of Qatar” means the sovereign country so titled and all political,

  administrative, or legal subdivisions thereof, including but not limited to all agencies or

  instrumentalities thereof, the Embassy of the State of Qatar in the United States; all elected and

  appointed officials, employees, agents, consultants, and attorneys thereof; and any other person

  acting for or on behalf of any of them.

         8.      The term “including” shall be construed as “including, but not limited to.”

         9.      In producing documents, you are requested to produce the original of each

  document requested together with all non-identical copies and drafts of that document. If the

  original of any document cannot be located, a copy shall be provided in lieu thereof, and shall be

  legible and bound or stapled in the same manner as the original. In any circumstance in which

  an agreement is reached to allow the production of copies of documents rather than originals,

  you shall retain all of the original documents for inspection or copying throughout the pendency

  of this case, any appeal(s), and any related proceedings.

         10.     Any alteration of a responsive document, including any marginal notes,

  handwritten notes, underlining, date stamps, received stamps, endorsed or filed stamps, drafts,

  revisions, modifications, and other versions of a document, is a responsive document in its own

  right and must be produced.

         11.     Unless words or terms have been given a specific definition herein, each word or

  term used herein shall be given its usual and customary dictionary definition, except where such

  words have a usual custom and usage definition in your trade or industry, in which case they




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  shall be interpreted in accordance with such usual custom and usage definition of which you are

  aware.

           12.   Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, documents shall

  be produced either (a) as they are kept in the usual course of business (in which case they shall

  be produced in such fashion as to identify the department, branch or office in whose possession it

  was located and, where applicable, the natural person in whose possession it was found or the

  server or central file in which it was found, and the address of each document’s custodian(s)), or

  (b) segregated as responsive to a specific Request enumerated in these Requests, with such

  specific Request identified.

           13.   All documents shall be produced in the file folder, envelope, or other container in

  which the documents are kept or maintained. If, for any reason, the container cannot be

  produced, produce copies of all labels or other identifying marks.

           14.   Documents attached to each other should not be separated.

           15.   If you file a timely objection to any portion of a Request, definition, or

  instruction, provide a response to the remaining portion.

           16.   The time period to which these Requests refer is from May 1, 2017 to the present.

  If any document is undated and the date of its preparation cannot be determined, the document

  shall be produced if otherwise responsive to any of the Requests.

           17.   These Requests are continuing and require supplemental responses in accordance

  with the requirements of Federal Rule of Civil Procedure 26(e).

           18.   The terms defined above and used in each of the Requests should be construed

  broadly to the fullest extent of their meaning in a good-faith effort to comply with the Federal

  Rules of Civil Procedure.




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                                 DOCUMENTS TO BE PRODUCED

  Document Request No. 1

         All documents concerning or constituting communications regarding Plaintiffs with the

  State of Qatar or with its officials, agents, or any persons acting on its behalf, including but not

  limited to Nicolas D. Muzin.

  Document Request No. 2

         All documents concerning or constituting communications related to payments to You

  relating to Your representation of the State of Qatar.

  Document Request No. 3

         All documents concerning or constituting communications regarding Your retention by

  the State of Qatar.

  Document Request No. 4

         All documents concerning or constituting communications relating to one or more of the

  Plaintiffs with agents of the State of Qatar (whether registered or unregistered), including

  individuals or entities associated with, or employed by, Avenue Strategies Global LLC, Ashcroft

  Law Group, Levick Strategic Communications, Information Management Services Inc., Conover

  & Gould Strategic Communications, Gallagher Group, Global Risk Advisors, McDermott, Will

  & Emery, Nelson Mullins Riley & Scarborough LLP, Portland PR, Mercury Public Affairs,

  Bluefront Strategies, Hawksbill Group, Vitello Consulting, Iron Bridge Strategies, Tigercomm

  LLC, Husch Blackwell Strategies, SGR Government Relations & Lobbying, and Venable LLP.




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  Dated: April 23, 2018
         New York, New York

                                            /s/ Amy Neuhardt
                                            Amy Neuhardt
                                            BOIES SCHILLER FLEXNER LLP
                                            1401 New York Ave., NW
                                            Washington, DC 20005
                                            Telephone: (202) 237-2727
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                                            Counsel for Plaintiffs




                                        6
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                      Text of Federal Rule of Civil Procedure 45(d) and (e)

  (d) PROTECTING A PERSON SUBJECT TO A SUBPOENA; ENFORCEMENT.

          (1)    Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible
  for issuing and serving a subpoena must take reasonable steps to avoid imposing undue burden
  or expense on a person subject to the subpoena. The court for the district where compliance is
  required must enforce this duty and impose an appropriate sanction—which may include lost
  earnings and reasonable attorney’s fees—on a party or attorney who fails to comply.

         (2)    Command to Produce Materials or Permit Inspection.

                 (A)     Appearance Not Required. A person commanded to produce documents,
         electronically stored information, or tangible things, or to permit the inspection of
         premises, need not appear in person at the place of production or inspection unless also
         commanded to appear for a deposition, hearing, or trial.

                 (B)     Objections. A person commanded to produce documents or tangible things
         or to permit inspection may serve on the party or attorney designated in the subpoena a
         written objection to inspecting, copying, testing, or sampling any or all of the materials or
         to inspecting the premises—or to producing electronically stored information in the form
         or forms requested. The objection must be served before the earlier of the time specified
         for compliance or 14 days after the subpoena is served. If an objection is made, the
         following rules apply:

                      (i)     At any time, on notice to the commanded person, the serving party
                may move the court for the district where compliance is required for an order
                compelling production or inspection.

                        (ii)    These acts may be required only as directed in the order, and the
                order must protect a person who is neither a party nor a party’s officer from
                significant expense resulting from compliance.

         (3)    Quashing or Modifying a Subpoena.

                (A)     When Required. On timely motion, the court for the district where
         compliance is required must quash or modify a subpoena that:

                        (i)     fails to allow a reasonable time to comply;

                        (ii)   requires a person to comply beyond the geographical limits
                specified in Rule 45(c);

                       (iii)  requires disclosure of privileged or other protected matter, if no
                exception or waiver applies; or
Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 34 of 55 Page ID #:692



                        (iv)   subjects a person to undue burden.

                (B)      When Permitted. To protect a person subject to or affected by a subpoena,
         the court for the district where compliance is required may, on motion, quash or modify
         the subpoena if it requires:

                       (i)    disclosing a trade secret or other confidential research,
                development, or commercial information; or

                       (ii)    disclosing an unretained expert’s opinion or information that does
                not describe specific occurrences in dispute and results from the expert’s study
                that was not requested by a party.

                (C)    Specifying Conditions as an Alternative. In the circumstances described in
         Rule 45(d)(3)(B), the court may, instead of quashing or modifying a subpoena, order
         appearance or production under specified conditions if the serving party:

                       (i)    shows a substantial need for the testimony or material that cannot
                be otherwise met without undue hardship; and

                      (ii)   ensures that the subpoenaed person will be reasonably
                compensated.

  (e) DUTIES IN RESPONDING TO A SUBPOENA.

          (1)   Producing Documents or Electronically Stored Information. These procedures
  apply to producing documents or electronically stored information:

                (A)    Documents. A person responding to a subpoena to produce documents
         must produce them as they are kept in the ordinary course of business or must organize
         and label them to correspond to the categories in the demand.

                  (B)   Form for Producing Electronically Stored Information Not Specified. If a
         subpoena does not specify a form for producing electronically stored information, the
         person responding must produce it in a form or forms in which it is ordinarily maintained
         or in a reasonably usable form or forms.

                (C)     Electronically Stored Information Produced in Only One Form. The
         person responding need not produce the same electronically stored information in more
         than one form.

                 (D)    Inaccessible Electronically Stored Information. The person responding
         need not provide discovery of electronically stored information from sources that the
         person identifies as not reasonably accessible because of undue burden or cost. On
         motion to compel discovery or for a protective order, the person responding must show
         that the information is not reasonably accessible because of undue burden or cost. If that
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        showing is made, the court may nonetheless order discovery from such sources if the
        requesting party shows good cause, considering the limitations of Rule 26(b)(2)(C). The
        court may specify conditions for the discovery.

        (2)    Claiming Privilege or Protection.

               (A)     Information Withheld. A person withholding subpoenaed information
        under a claim that it is privileged or subject to protection as trial-preparation material
        must:

                       (i)     expressly make the claim; and

                       (ii)    describe the nature of the withheld documents, communications,
               or tangible things in a manner that, without revealing information itself privileged
               or protected, will enable the parties to assess the claim.

                (B)      Information Produced. If information produced in response to a subpoena
        is subject to a claim of privilege or of protection as trial-preparation material, the person
        making the claim may notify any party that received the information of the claim and the
        basis for it. After being notified, a party must promptly return, sequester, or destroy the
        specified information and any copies it has; must not use or disclose the information until
        the claim is resolved; must take reasonable steps to retrieve the information if the party
        disclosed it before being notified; and may promptly present the information under seal to
        the court for the district where compliance is required for a determination of the claim.
        The person who produced the information must preserve the information until the claim
        is resolved.
      Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 36 of 55 Page ID #:694
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Central District
                                                       __________  Districtofof
                                                                              California
                                                                                __________

                                                                               )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.
                                                                               )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:

                                                       (Name of person to whom this subpoena is directed)

        Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:


 Place:                                                                                Date and Time:



          The deposition will be recorded by this method:

          Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                               Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
     Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 37 of 55 Page ID #:695
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                        .

              I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

              I returned the subpoena unexecuted because:
                                                                                                                          .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
     Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 38 of 55 Page ID #:696

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                     EXHIBIT 4
    Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 40 of 55 Page ID #:698




From:                Sahni, Neema T <nsahni@cov.com>
Sent:                Thursday, April 26, 2018 8:20 PM
To:                  aneuhardt@bsfllp.com; rdwyer@BSFLLP.com; lwolosky@BSFLLP.com
Cc:                  Kamin, Mitchell A; Obermeier, Stephen; Gardner, Matthew; Van Tassell, Rebecca G; Gimblett,
                     Jonathan
Subject:             Broidy v. Qatar - Draft Joint Statement
Attachments:         BCM v. Qatar et al. - Joint Statement Re L.R. 7-3 Conference.DOCX; BCM v. Qatar et al. - Joint Stip on
                     Expedited Briefing for Motion to Stay.DOCX; BCM v. Qatar et al. - [Proposed] Order on Expedited
                     Briefing for Motion to Stay.DOCX


Counsel:

Thank you for speaking with us earlier regarding Defendants' anticipated motions in the above-referenced
matter. Pursuant to Judge Walter's standing order, we need to submit by Monday a joint statement reporting on our
Local Rule 7-3 pre-filing conference. Attached please find a draft statement which we would propose to file on behalf of
the parties in order to comply with this requirement. Please let us know if you have any edits.

You will see that the draft statement also includes the schedule we proposed for expedited briefing on Defendants'
expected motions to stay. On the call, you stated you needed to confer on your end regarding the dates we proposed, so
once we have an agreed-upon schedule, we can adjust the draft accordingly. We have also prepared and attach here a
draft joint stipulation and proposed order on expedited briefing, which we would also propose to file on Monday.

Please let us know if you have any comments on the attached. Again, our deadline for filing the joint statement is
Monday, April 30.

Thank you,
Neema


Neema Sahni
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                                                             1
     Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 41 of 55 Page ID #:699
                                                                                             C&B DRAFT 4.26.18

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 8     Attorneys for Defendant State of Qatar
 9     [Additional counsel listed on signature page]
10

11                                  UNITED STATES DISTRICT COURT
12                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                                            WESTERN DIVISION
14
        BROIDY CAPITAL MANAGEMENT                                   Civil Case No.:
15      LLC, ELLIOTT BROIDY, and ROBIN
        ROSENZWEIG                                                  2:18-CV-02421-JFW-(Ex)
16
                                                                    [Assigned to Hon. John F. Walter]
17             Plaintiffs,
18                                                                  JOINT STATEMENT REGARDING
               v.
19                                                                  LOCAL RULE 7-3 PRE-FILING
        STATE OF QATAR, STONINGTON                                  CONFERENCE ON DEFENDANTS’
20
        STRATEGIES LLC, NICOLAS D.                                  INTENTION TO FILE MOTIONS
21      MUZIN, and DOES 1-10,                                       TO TEMPORARILY STAY
22                                                                  DISCOVERY AND TO DISMISS
               Defendants.
23
                                                                    THE COMPLAINT

24
                                                                    Complaint Filed: March 26, 2018
25

26

27

28
         JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON DEFENDANTS’ INTENTION TO FILE MOTIONS TO
                                 TEMPORARILY STAY DISCOVERY AND TO DISMISS THE COMPLAINT
     Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 42 of 55 Page ID #:700
                                                                                             C&B DRAFT 4.26.18

 1
               In accordance with Section 5(b) of this Court’s Standing Order, this is the joint
 2
       statement of Plaintiffs Broidy Capital Management LLC, Elliott Broidy and Robin
 3
       Rosenzweig (“Plaintiffs”), Defendant State of Qatar (“Qatar”), and Defendants Nicolas
 4
       Muzin and Stonington Strategies (collectively, “Muzin and Stonington”) regarding the
 5
       parties’ pre-filing conference of counsel pursuant to Local Rule 7-3.
 6
              The conference took place via teleconference at 8:00 a.m. Pacific Time on April
 7
       26, 2018. Amy L. Neuhardt and Robert J. Dwyer of Boies Schiller Flexner LLP
 8
       participated on behalf of the Plaintiffs. Mitchell A. Kamin, Jonathan Gimblett, Neema T.
 9
       Sahni, and Rebecca Van Tassell of Covington & Burling LLP participated on behalf of
10
       Defendant Qatar. Stephen J. Obermeier, Matt Gardner, and Rebecca Fiebig participated
11
       on behalf of Defendants Muzin and Stonington. The teleconference lasted approximately
12
       thirty minutes. [The parties exchanged further e-mail correspondence on April 26 and 27
13
       to reach agreement on a proposed briefing schedule for one of Defendants’ contemplated
14
       motions.]
15
              A.      Defendants’ Motions to Dismiss
16
                      1.      Qatar’s Motion to Dismiss
17
              Defendant Qatar informed Plaintiffs that it intends to file a Motion to Dismiss the
18
       Complaint pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).
19
       Specifically, Qatar intends to move to dismiss on the grounds that subject matter
20
       jurisdiction and personal jurisdiction is lacking as to Qatar because Qatar is immune from
21
       suit under the Federal Sovereign Immunities Act (“FSIA”), and the noncommercial torts
22
       exception to such immunity—or any other valid FSIA exception—does not apply here.
23
       By Plaintiffs’ own allegations, the alleged hacking activity underlying each of their
24
       substantive tort claims occurred, at least in part, outside of the United States and thus
25
       cannot satisfy the requirements of the noncommercial torts exception. Moreover,
26
       Defendants explained, Plaintiffs’ civil conspiracy claim cannot be relied upon to establish
27

28                                                           1
         JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON DEFENDANTS’ INTENTION TO FILE MOTIONS TO
                                TEMPORARILY STAY DISCOVERY AND TO DISMISS THE COMPLAINT
     Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 43 of 55 Page ID #:701



 1
       subject matter jurisdiction over Qatar because that is not a substantive, independent tort
 2
       claim, and even if it were, as alleged here, it does not support application of the
 3
       noncommercial tort exception. Finally, the noncommercial torts exception does not
 4
       apply for the additional reason that the alleged misconduct, even if true, would fall within
 5
       the discretionary function carve-out to that exception. Qatar further explained that,
 6
       because subject matter jurisdiction is lacking, personal jurisdiction is also lacking as to
 7
       Qatar.
 8
                Defendant Qatar also explained the basis for its Rule 12(b)(6) motion, stating that
 9
       the Complaint does not plausibly allege that the government of Qatar perpetrated the
10
       purported hack underlying each of Plaintiffs’ substantive causes of action. Plaintiffs’
11
       public disclosure cause of action fails for the additional reason that any publicly disclosed
12
       e-mails were newsworthy. Finally, the civil conspiracy cause of action cannot stand on
13
       its own under California law and thus must be dismissed absent any substantive basis on
14
       which to impose liability on Qatar.
15
                Plaintiffs stated that they do not agree that jurisdiction is lacking, or that the
16
       Complaint is otherwise defective as to Qatar. Plaintiffs intend to oppose Qatar’s
17
       forthcoming motion to dismiss.
18
                      2.      Muzin and Stonington’s Motion to Dismiss
19
                Defendants Muzin and Stonington informed Plaintiffs that it intends to file a
20
       motion to dismiss as well, on the following potential grounds: (1) personal jurisdiction is
21
       lacking as to Muzin and Stonington, as those Defendants are not residents of California
22
       and Plaintiffs have not pled that their alleged activities were performed in or directed at
23
       the state of California; (2) subject matter jurisdiction is lacking as to those Defendants
24
       based on their derivative sovereign immunity and foreign agent immunity; (3) venue is
25
       not proper because a substantial part of the acts and omissions alleged in the Complaint
26
       occurred outside of this District; (4) if Qatar is dismissed from the action, Qatar would be
27

28                                                           2
         JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON DEFENDANTS’ INTENTION TO FILE MOTIONS TO
                                TEMPORARILY STAY DISCOVERY AND TO DISMISS THE COMPLAINT
     Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 44 of 55 Page ID #:702



 1
       a required party pursuant to Federal Rule of Civil Procedure 19 because the court cannot
 2
       accord complete relief among the remaining parties; (5) the Complaint is defective under
 3
       Rule 12(b)(6) because it contains no specific allegations that Defendants Muzin or
 4
       Stonington accessed Plaintiffs’ computers, unlawfully obtained any e-mails, and/or
 5
       disseminated hacked or forged e-mails to third parties.
 6
              Plaintiffs again expressed their disagreement with these arguments and informed
 7
       counsel for Defendants Muzin and Stonington that they would be opposing Defendants’
 8
       forthcoming motion.
 9
              B.      Defendants’ Motions to Temporarily Stay Discovery
10
              Defendant Qatar informed Plaintiffs that it would also be expeditiously filing a
11
       motion to temporarily stay all discovery in this matter—including discovery directed to
12
       Defendants Muzin and Stonington and third parties—pending a decision on its Motion to
13
       Dismiss. Qatar explained its position that courts, including in this District, are in accord
14
       that when a foreign sovereign raises a threshold jurisdictional challenge on sovereign
15
       immunity grounds, discovery may be properly stayed. Limited jurisdictional discovery
16
       may be permitted where absolutely necessary, but that is not the case here as the
17
       jurisdictional defects Qatar intends to raise are clear from the face of the Complaint.
18
              Qatar further explained its position that discovery should be stayed not only as to
19
       it, but also as to the other Defendants and third parties. Any such discovery necessarily
20
       implicates Qatar’s interests and its consular immunities under the Vienna Convention,
21
       thus requiring Qatar to involve itself in discovery to protect its interests.
22
              Defendants Muzin and Stonington informed Plaintiffs they would be filing a
23
       similar motion to stay, in particular because the personal and subject matter jurisdiction
24
       issues as to such Defendants are substantial. In light of the jurisdictional issues—which
25
       the Court has already identified as significant—Muzin and Stonington do not see any
26

27

28                                                           3
         JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON DEFENDANTS’ INTENTION TO FILE MOTIONS TO
                                TEMPORARILY STAY DISCOVERY AND TO DISMISS THE COMPLAINT
     Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 45 of 55 Page ID #:703



 1
       reason why discovery responses by them or any third party should be due while those
 2
       issues remain unresolved.
 3
              Plaintiffs disagreed with Defendants’ position that a complete stay of discovery is
 4
       warranted here, and they intend to oppose any motions seeking a temporary stay. They
 5
       believe that this Court’s standing order instructs the parties to begin conducting discovery
 6
       before the Rule 26(f) conference, and the Court directed the parties in this case to follow
 7
       that order even after it had been made aware of Defendants’ jurisdictional challenges. In
 8
       addition, Plaintiffs stated they are entitled to jurisdictional discovery, particularly as to
 9
       third parties and Defendants Muzin and Stonington. Plaintiffs further explained that
10
       discovery is necessary to their preliminary injunction motion, which the Court invited
11
       them to file, and the sooner they can enjoin any further dissemination and publication of
12
       news stories based on the leaked e-mails, the better.
13
              C.      Expedited Briefing Schedule for Motions to Stay
14
              Plaintiffs stated that they would not stipulate to stay discovery pending the
15
       outcome of Defendants’ motions to dismiss. Defendant Qatar asked Plaintiffs whether
16
       they would be willing to stipulate to an expedited briefing schedule on Defendants’
17
       respective stay motions, and Plaintiffs agreed to this request. Defendant Qatar also
18
       represented that it would endeavor to file its Motion to Dismiss prior to the current due
19
       date of June 8, 2018, which will shorten the duration of any temporary stay.
20
              In the interest of expeditiously briefing the Defendants’ Motions to Temporarily
21
       Stay Discovery, and presenting the issues therein to this Court promptly, the parties
22
       agreed, subject to the Court’s approval, to the following briefing schedule on such
23
       motions:
24
              • Defendants Qatar and Defendants Muzin and Stonington will file their
25
                   respective Motions to Temporarily Stay All Discovery by no later than May 4,
26
                   2018;
27

28                                                           4
         JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON DEFENDANTS’ INTENTION TO FILE MOTIONS TO
                                TEMPORARILY STAY DISCOVERY AND TO DISMISS THE COMPLAINT
     Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 46 of 55 Page ID #:704



 1
              • Plaintiffs will file their Opposition to such motions by no later than May 11,
 2
                  2018;
 3
              • Defendants Qatar and Defendants Muzin and Stonington will file their
 4
                  respective reply briefs by no later than May 15, 2018;
 5
              • To the extent the Court decides it is necessary to hold a hearing on Defendants’
 6
                  stay motions, that hearing will be held on May 21, 2018, or such other date as
 7
                  may be convenient to the Court.
 8
              In accordance with the parties’ agreement as to this issue, the parties are filing
 9
       concurrently herewith a Joint Stipulation on Expedited Briefing for Defendants’ Motions
10
       to Temporarily Stay of All Discovery, proposing the schedule set forth above for the
11
       Court’s consideration and approval.
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         JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON DEFENDANTS’ INTENTION TO FILE MOTIONS TO
                                TEMPORARILY STAY DISCOVERY AND TO DISMISS THE COMPLAINT
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 1
        Dated: April 30, 2018                               COVINGTON & BURLING LLP
 2

 3                                                          By: /s/ Mitchell A. Kamin
                                                            Mitchell A. Kamin
 4                                                          Email: mkamin@cov.com
 5                                                          1999 Avenue of the Stars, Suite 3500
                                                            Los Angeles, CA 90067-4643
 6                                                          Telephone: + 1 424-332-4800
 7                                                          Facsimile: + 1 424-332-4749
 8                                                          Attorneys for Defendant State of Qatar
 9

10      Dated: April 30, 2018                               BOIES SCHILLER FLEXNER LLP
11
                                                            By: /s/ DRAFT
12
                                                            Lee S. Wolosky
13                                                          Email: lwolosky@bsfllp.com
                                                            Robert J. Dwyer
14
                                                            Email: rdwyer@bsfllip.com
15                                                          575 Lexington Ave., 7th Floor
                                                            New York, NY 10022
16
                                                            Telephone: +1 212-446-2300
17                                                          Facsimile: + 1 212-446-2350
18
                                                            Attorneys for Plaintiffs
19

20
        Dated: April 30, 2018                               WILEY REIN LLP
21
                                                            By: /s/ Matthew J. Gardner
22
                                                            Matthew J. Gardner
23                                                          Email: mgardner@wileyrein.com
                                                            1776 K Street NW
24
                                                            Washington, DC 20006
25                                                          Telephone: +1 202-719-7049
26
                                                            Attorneys for Defendants Nicolas D. Muzin
27                                                          and Stonington Strategies LLC
28                                                           6
         JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON DEFENDANTS’ INTENTION TO FILE MOTIONS TO
                                TEMPORARILY STAY DISCOVERY AND TO DISMISS THE COMPLAINT
     Case 2:18-cv-02421-JFW-E Document 57-2 Filed 06/04/18 Page 48 of 55 Page ID #:706



 1

 2                                     SIGNATURE CERTIFICATION

 3
              Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that all other signatories listed, and

 4
       on whose behalf the filing is submitted, concur in the filing’s content and have authorized

 5
       this filing.

 6

 7

 8    DATED: April 30, 2018                          COVINGTON & BURLING LLP
 9
                                                      /s/ Mitchell A. Kamin
10                                                   Mitchell A. Kamin
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         JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON DEFENDANTS’ INTENTION TO FILE MOTIONS TO
                                TEMPORARILY STAY DISCOVERY AND TO DISMISS THE COMPLAINT
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                     EXHIBIT 5
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Gardner, Matthew

From:                        Lee Wolosky <lwolosky@BSFLLP.com>
Sent:                        Friday, May 18, 2018 4:58 PM
To:                          Obermeier, Stephen; Sahni, Neema T; Kamin, Mitchell A; Gardner, Matthew; Van Tassell, Rebecca G;
                             Gimblett, Jonathan
Cc:                          Robert Dwyer; Amy Neuhardt; Andrew Chesley; Samuel Kleiner
Subject:                     Broidy et v. Qatar et al
Attachments:                 2018.05.18 DRAFT Order Granting Scheduling Stipulation 2 (clean).docx; 2018.05.18 DRAFT Order
                             Granting Scheduling Stipulation 2 (redlined).docx; 2018.05.18 DRAFT Scheduling Stipulation 2
                             (clean).docx; 2018.05.18 DRAFT Scheduling Stipulation 2 (redlined).docx


Counsel, 
 
We are writing to seek your consent to a further adjustment to the case schedule, as reflected in the attached draft 
stipulation and proposed order (in both clean and redline format, marked to show changes from the first stipulation and 
order).  We are requesting approximately six additional weeks (adjusted to account for the July 4th holiday) to file our 
amended complaint. The additional time to file our amended complaint will enable us to avoid the necessity of further 
amendments as responses to third party subpoenas continue to be received.  As you will appreciate, the third party 
subpoenas we have served and continue to serve, particularly on electronic communications providers, are important 
for purposes of determining, among other things, the identity of the defendants we may wish to add or dismiss in the 
amended complaint.  The current limited stay of discovery on certain parties would continue under our proposal and all 
other deadlines would be correspondingly adjusted.  We believe it is ultimately in the best interest of all parties and in 
the interest of judicial efficiency to take additional time to file the amended complaint. 
 
Sincerely, 
 
Lee 
 
 
Amb. Lee S. Wolosky
Partner
 




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                     EXHIBIT 6
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          GOP fundraiser Elliott Broidy alleges that former U.S.- and U.K.-trained spies helped orchestrate cyberattacks

          on American citizens. | Alex J. Berliner/ABImages via AP




          GOP fundraiser: Ex-American spy helped Qatar hack emails
          The allegation is part of a unique lawsuit attempting to hold a foreign government
          accountable in a U.S. court for digital espionage operations.
          By JOSH MEYER | 05/24/2018 06:06 PM EDT | Updated 05/24/2018 08:09 PM EDT




          A top fundraiser for President Donald Trump has accused the Persian Gulf state of Qatar of
          conspiring with former American and British spies to hack and publicize his emails as part
          of a clandestine state-sponsored influence operation on U.S. soil.

          In a new court filing, Elliott Broidy — who has faced scrutiny over his efforts to convince
          Trump and the U.S. government to adopt an aggressive stance against Qatar — alleges that



https://www.politico.com/story/2018/05/24/elliott-broidy-qatar-email-hack-607970                                           1/5
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          former U.S.- and U.K.-trained intelligence operatives helped orchestrate cyberattacks on
          American citizens in an attempt to discredit their public standing.

          Thursday’s court filing was prompted by new information about how Qatar used a private
          intelligence firm, Global Risk Advisors, to “coordinate and implement the hack,” and to
          recruit “cyber mercenaries” in various countries to execute the technical aspects of it, a
          lawyer for Broidy and his Broidy Capital Management firm told POLITICO.

          “The amended complaint filed today reflects our more advanced knowledge of the
          conspiracy against Mr. Broidy and seeks to hold responsible persons and entities
          accountable,” said lawyer Lee Wolosky of the firm Boies Schiller Flexner, LLP. That
          includes “former U.S. and U.K. government personnel,” he said.

          Wolosky, a former ambassador and senior counterterrorism official in the Clinton and
          Bush administrations, said it is a crime for anyone to hack into the emails of a U.S. citizen.
          But it is tantamount to “an act of war,” he said, “when such an attack is orchestrated by a
          foreign government.”

          “In this lawsuit, we are asking that Qatar be held accountable for its support of terrorism in
          any form — offline or online,” Wolosky said. “When foreign sovereigns are alleged to have
          committed crimes, sovereign immunity principles should not shield them from
          accountability in our courts.”


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          The amended complaint is part of a lawsuit Broidy has been pressing against the Qatari
          government since March in a California federal court. The suit accuses Qatar of hacking
          Broidy’s emails and funneling them to reporters through Republican operative Nick Muzin
          in order to neutralize Broidy’s effectiveness as an anti-Qatar influence on the Trump White
          House.

          Several outlets — including the Associated Press, the Wall Street Journal and the
          Hollywood Reporter — have published articles based on Broidy’s stolen emails. Broidy
          recently subpoenaed the AP for information about the source of the hacked emails.


https://www.politico.com/story/2018/05/24/elliott-broidy-qatar-email-hack-607970                                           2/5
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          Broidy’s suit is one of the first attempts to hold a foreign government accountable in an
          American court for digital espionage operations.

          Qatar has strenuously denied Broidy’s allegations, describing them in a statement issued
          Thursday by its embassy in Washington as being “completely fabricated and without
          merit.”

          In Broidy’s latest filing, the Republican fundraiser expands his original lawsuit to also
          name Mohammad bin Hamad Khalifa al Thani, the brother of Qatar’s current head of state,
          and Ahmed al-Rumaihi, a U.S.-based Qatari operative who managed a $100 billion
          investment fund on behalf of the country's government.

          The fund has become embroiled in special counsel Robert Mueller’s Russian election
          meddling investigation as it expands to look at whether other countries sought to buy
          influence. Broidy has also drawn the interest of investigators because of his relationship
          with Trump, though a source close to Broidy denied Thursday that he is a person of interest
          in Mueller’s probe.

          The lawsuit is part of a larger battle between Qatar and Saudi Arabia and the United Arab
          Emirates that escalated dramatically last June, when the two Gulf nations imposed a
          blockade on Qatar to isolate it from land and sea commerce. Trump publicly backed the
          blockade, accusing Qatar of supporting terrorism and crediting Broidy with influencing his
          policy. Qatar was also hit with international sanctions.

                               THE POLITICO MAG PROFILE


                               George Conway’s Tweets Raise West Wing Eyebrows
                               By ANNIE KARNI




          In response, the Qatari government — through al Thani and al-Rumaihi, the two Qatari’s
          named in Thursday's filing — moved aggressively to improve its standing with the White
          House, according to the amended suit. The filing includes allegations about how Qatar
          tried to influence U.S. policy by using unregistered lobbyists, and by trying to buy a
          significant part of a conservative media website, Newsmax, favored by Trump and run by
          his friend Christopher Ruddy.

          But the new filing also fills out the alleged details of the hacking campaign against Broidy.
          It claims that Qatar used Global Risk Advisors, LLC and its principals, Kevin Chalker and
          David Mark Powell, to coordinate the attack against him.




https://www.politico.com/story/2018/05/24/elliott-broidy-qatar-email-hack-607970                                        3/5
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          The document says Chalker is a former CIA cyber operative who runs GRA’s New York
          operations, and that Powell is a former British intelligence operative who opened the firm’s
          Qatar office in October 2017 — just weeks before the hacking campaign began.

          Chalker, Powell and GRA, it alleges, “made it clear within that community that they had
          been retained to conduct or coordinate offensive cyber operations on behalf of Defendant
          State of Qatar.”

          GRA did not respond to an email seeking comment on Thursday. Chalker and Powell could
          not be contacted for comment.

          A spokesman for Al-Rumaihi also said the allegations were "completely meritless," and said
          he was no longer working for, or on behalf of, the Qatari government at the time in
          question.




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https://www.politico.com/story/2018/05/24/elliott-broidy-qatar-email-hack-607970                                        4/5
